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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  VOXPATH RS, LLC,

                    Plaintiff,                       Civil Action No. 2:09-cv-364-TJW-CE

         v.

  DENON ELECTRONICS (USA), LLC, et al.,

                    Defendants.


   ORDER GRANTING STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE
         After consideration The plaintiff, Voxpath RS, LLC, and defendants Panasonic

  Corporation, Panasonic Corporation of North America, and Panasonic Consumer Electronics

  Company, Stipulated Motion for Dismissal with Prejudice pursuant to Fed. R. Civ. P. 41(a)(2)

  and (c), the Court finds that the Motion should be GRANTED. It is hereby ordered that all

  claims are dismissed WITH PREJUDICE and all counterclaims are dismissed as MOOT, subject

  to the terms of that certain agreement entitled “PATENT LICENSE AND SETTLEMENT

  AGREEMENT” with effective date of June 30, 2010, with each party to bear its own costs,

  expenses and attorneys fees.

          SIGNED this 17th day of August, 2010.



                                              __________________________________________
                                              T. JOHN WARD
                                              UNITED STATES DISTRICT JUDGE
